                                                   REISSUED
           Case 1:21-vv-01898-UNJ Document 9 Filed 10/28/21    FOR
                                                            Page 1 of PUBLICATION
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                                                              OCT 28 2021
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                                                                  U.S. COURT OF FEDERAL CLAIMS


       In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS

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MARYETTA SPELLS,           *
                           *
                           *                        No. 21-1898V
               Petitioner, *                        Special Master Christian J. Moran
                           *
v.                         *
                           *                        Filed: October 28, 2021
SECRETARY OF HEALTH        *
AND HUMAN SERVICES,        *
                           *
               Respondent. *
*************************

                              DECISION DISMISSING CASE 1

        A September 23, 2021 petition alleged that Ms. Spells experienced acute cardiac arrest
resulting in her death due to the COVID-19 vaccine. The COVID-19 vaccine is not currently
covered by the Vaccine Program. It is instead covered by the Countermeasures Injury
Compensation Program (CICP). Therefore, any petition filed alleging an injury resulting from
the COVID-19 vaccine must be dismissed. For further information, petitioner may visit
https://www.uscfc.uscourts.gov/coronavirus-announcements and direct any further inquiries
regarding COVID-19 vaccine injuries to the CICP at 1-855-266-2427 or cicp@hrsa.gov.

      Accordingly, this case is DISMISSED WITH PREJUDICE. The clerk shall enter
judgment accordingly.

       Any questions regarding this order shall be directed to my law clerk, Annie Belanger, at
(202) 357-6360.

       IT IS SO ORDERED.

                                                    s/Christian J. Moran
                                                    Christian J. Moran
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          The E-Government Act, 44 § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services), requires that the Court post this decision on its website
(https://www.uscfc.uscourts.gov/aggregator/sources/7). Once posted, anyone can access this
decision via the internet. Pursuant to Vaccine Rule 18(b), the parties have 14 days to file a
motion proposing redaction of medical information or other information described in 42 U.S.C.
§ 300aa-12(d)(4). Any redactions ordered by the special master will be reflected in the
document posted on the website.
Case 1:21-vv-01898-UNJ Document 9 Filed 10/28/21 Page 2 of 2




                                 Special Master




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